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                        UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA

                                            )
[1] BLACK EMERGENCY RESPONSE TEAM,          )
     et al.                                 )
            Plaintiffs,                     )
                                            )
v.                                          )                   Case No. 5:21-cv-1022-G
                                            )
[l] JOHN O’CONNOR, in his official capacity )                   Hon. Charles B. Goodwin
As Oklahoma Attorney General, et al.,       )
                                            )
            Defendants.                     )
___________________________________________ )

      PLAINTIFFS’ SUPPLEMENTAL SUBMISSION IN SUPPORT OF THEIR
                MOTION FOR PRELIMINARY INJUNCTION
         Plaintiffs Black Emergency Response Team (BERT), et al., respectfully

supplement their Motion for Preliminary Injunction (Dkt. 27) to bring to the Court’s

attention a recent enforcement action taken by Defendant Oklahoma State Board of

Education (the “Board”) pursuant to H.B. 1775 (the “Act”). 1

         Specifically, on Thursday, July 28, 2022, the Board voted 4-2 to penalize the

Tulsa Public Schools district (“Tulsa Public Schools”) by adjusting its accreditation

status to “Accredited with Warning.” This action was predicated upon a finding by the

Oklahoma State Department of Education (“OSDE”) that a training program for Tulsa K-

12 teachers designed, in part, to address potential bias included several of the “prohibited

concepts” set forth in section 1(B)(1) of the Act.


1
    The Act is codified as Okla. Stat. tit. 70, § 24-157.
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         As explained below, the finding of a violation of the Act by the Tulsa Public

Schools was based entirely on strained inferences OSDE drew about the supposed

“spirit” and “design” of the training rather than the actual content of the training

materials. The action shows that, under the Act, even a discussion of the idea that all

people hold implicit or unconscious biases has now been outlawed in Oklahoma schools.

Although the matter involved a training for teachers, it also highlights how, in the words

of OSDE’s own spokesperson, the Act’s “vague language” has a “chilling effect” on

classroom instruction of students. 2 The Board and OSDE’s application of the Act thus

confirms the unconstitutional vagueness and overbreadth inherent in the Act’s

proscriptions and directly contradicts the arguments made by the State on the pending

preliminary injunction motion.

                                          Background

         On February 2, 2022, a high school teacher in the Tulsa Public Schools (the

“Complainant”) submitted a complaint to OSDE, claiming that a training course she was

required to complete “includes statements that specifically shame white people for past

offenses in history, and state that all are implicitly racially biased by nature,” and

therefore violated the Act. To the best of Plaintiffs’ knowledge, of the more than 2,000

teachers in the Tulsa Public Schools, Complainant was the only one to file a complaint

regarding this training.




2
    See Exh. 1b hereto, p. 5; discussion infra at p. 11.

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         The training course was created by Vector Solutions, a nationally recognized and

award-winning provider of training and learning management tools for, inter alia, public

school districts, law enforcement agencies, fire departments and business organizations

across the country. Vector Solutions has been in business for more than 20 years and has

serviced more than 34,000 customers. 3

         OSDE conducted an investigation of the complaint and OSDE’s General Counsel

informed the Board of the conclusion of that investigation at a board meeting on June 23,

2022. The General Counsel told the Board that, although “it was a close call,” OSDE

believed that “the spirit of that training—the design of it—was contradictory to House

Bill [1775].” (Video Recording of June 23, 2022 Board Meeting at 4:49:47, available at

https://www.facebook.com/OklaSDE/).

         In a letter to the Complainant dated July 7, 2022 (the “OSDE Letter”), OSDE

elaborated on its grounds for finding that the training violated H.B. 1775. 4 Significantly,

OSDE rejected the Complainant’s allegations that the training included statements that

“shame white people” and stated that they “all are implicitly racially biased by nature.”

(OSDE Ltr. at 3 (“OSDE did not find any evidence to substantiate the allegation that the

training included ‘statements that specifically shame white people for past offenses in

history, and state that all are implicitly racially biased in nature’”)). 5 Indeed, OSDE


3
    See https://www.vectorsolutions.com/.
4
 A true and correct copy of the OSDE Letter (including attachments) dated July 7, 2022
is attached hereto as Exhibit 1a.
5
  OSDE also found no merit in the Complainant’s allegation that Tulsa Public Schools
failed to properly inform individuals about how to report suspected violations of the Act.
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concluded that upon reviewing the training slides themselves, “there was no violation of

the [Act] and its proscription on the identified concepts being part of any course.” (Id.)

       Nevertheless, OSDE asserted that the training’s audio portion, in conjunction with

the slides, “evidence[d]” that the training “included, incorporated or is based on” three

“outlawed concepts” in the Act, specifically the following:

       1. “an individual, by virtue of his or her race or sex, is inherently racist, sexist or

         oppressive, whether consciously or unconsciously” (section 1(B)(1)(b) of

         the Act);

       2. “an individual, by virtue of his or her race or sex, bears responsibility for

         actions committed in the past by other members of the same race or sex”

         (section 1(B)(1)(f));

       3. “any individual should feel discomfort, guilt, anguish or any other form of

         psychological distress on account of his or her race or sex” (section

         1(B)(1)(g)).

       The OSDE Letter acknowledged that the training materials did not contain—in

either the audio portion or the slides—any “express statements,” “explicit content,” or

“direct statements” setting forth any of these three prohibited concepts. (OSDE Ltr. at 3-

4). Yet OSDE claimed that other “evidence” made it “more likely than not” that the

training “incorporated” and/or was “based on” the prohibited concepts. (Id. at 4).




OSDE noted that this information was, in fact, contained on the school district’s website.
(OSDE Ltr. at 1-2).

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       The only evidence cited in the OSDE Letter consists of six categories of

predominantly factual statements that, according to OSDE, are evidenced in the training

materials. These are set forth on page 3 of the Letter, and Plaintiffs invite the Court to

review them in their entirety. According to OSDE, the offending messages included such

things as: “demographics are changing and we can expect to be interacting with students

of varying cultures, ethnicities and backgrounds such that we need to be aware of our

own inherent biases, as well as historical biases against minorities”; “deeply rooted

stereotypes, built over time and by history and culture, can still be found in classrooms”;

“statistics demonstrate that while just 18% of preschool students were Black in 2015,

they accounted for 42% of the out-of-school suspensions”; and “the goal of the course is

to provide an overview of racial bias.” (OSDE Ltr. at 3).

       OSDE’s Letter does not contend that any of the statements in the training

materials are untrue, let alone demonstrate that they are untrue. For example, OSDE does

not dispute that due to changing demographics teachers need to interact with students of

varying cultures and ethnicities. Nor does it dispute that people may hold implicit biases

or that historical biases have existed against minorities. Nor does it claim that statistics

showing Black students are disproportionately subject to discipline are inaccurate. As

OSDE interprets the Act, it does not matter whether these things are true or whether they

help improve teaching and learning for all students and all educators, consistent with

Oklahoma’s academic standards; they cannot be taught in Oklahoma public schools

because they could possibly be understood to imply—and thus are tantamount to

teaching—the concepts prohibited by the Act.

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       Based on its finding, OSDE recommended that the Board adjust the Tulsa Schools

district’s accreditation status to “Accredited with Deficiency.” (OSDE Ltr. at 4). At its

meeting on July 28, 2022, however, a majority of Board members went further, and voted

to escalate the punishment by downgrading the Tulsa Public Schools’ status by an

additional level to “Accredited with Warning.” 6 See Lenzy Krehbiel-Burton, “Tulsa

Public Schools accredited with a warning over HB1775 violation,” TULSA WORLD, July

29, 2022, available at https://tulsaworld.com/news/local/education/watch-now-tulsa-

public-schools-accredited-with-a-warning-over-hb1775-violation/article_e2aa9fa2-0dd9-

11ed-aca4-4bfac4fed0ef.html. 7

       The Board members reached this determination even though they did not have

access to, and thus never listened to, the audio portion of the training that purportedly

was the basis for OSDE’s finding of a violation. (Video Recording of July 28, 2022

Board Meeting at 2:03:56, available at https://fb.watch/eGuV91aK0B/). It has now been

reported that, in fact, the audio portion of the training consists merely of a speaker


6
 The status of “Accredited With Warning” requires a school district to meet with
representatives from the Accreditation Section for further review and a final
determination, including the possibility of losing accreditation. Okla. Admin. Code
210:35-3-201. If a school district loses accreditation, it can no longer serve students; the
State Board of Education “shall annex the district to one or more other districts.” Okla.
Stat. Ann. tit. 70, § 3-104.4.
7
  At the July 28 meeting, the Board also voted 4-2 in favor of downgrading Mustang
Public Schools’ status to “Accredited with Warning” based on an alleged violation of
H.B. 1775. (Id.) Plaintiffs do not have further information at present regarding the
circumstances leading up to the Mustang determination but hope to obtain more
information via a pending records request submitted to the OSDE.



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reading the text of the training slides verbatim (slides which OSDE found did not violate

the Act). See Lenzy Krehbiel-Burton, “Audio from TPS implicit bias training was a voice

reading presentation slides verbatim,” TULSA WORLD, Aug. 6, 2022, available at

https://tulsaworld.com/news/local/education/audio-from-tps-implicit-bias-training-was-a-

voice-reading-presentation-slides-verbatim/article_140cabde-1524-11ed-b809-

1f6eb7ac6c64.html (“Tulsa World Article”). 8

               Relevance to the Pending Preliminary Injunction Motion

       In the pending preliminary injunction motion, Plaintiffs specifically describe the

broad reach and inherent vagueness in the Act’s prohibited concepts, including two of the

concepts cited in the OSDE Letter: subsections (f) and (g). (ECF No. 27 at 13-14). In

response, the State, in essence, accused Plaintiffs of exaggerating, arguing that the Act’s

language was “succinct, straightforward, and narrowly phrased” and would be interpreted

as such. (ECF No. 61 at 1, 19-21). Thus, for example, the State argued that subsection (g)

merely prohibits “telling students they should feel guilty for being of a certain race.” (Id.

at 21 (emphasis in original)).

       The Board's and OSDE’s actions against the Tulsa Public Schools confirm that the

State was wrong. Nothing in the Tulsa training materials—as OSDE expressly

acknowledges—told anyone they “should feel guilty” for being of a certain race. (OSDE


8
 A true and correct copy of the Aug. 6, 2022 Tulsa World Article is attached hereto as
Exhibit 1b, and a letter, which the article links to, sent by the Superintendent of the Tulsa
Public Schools to OSDE on August 5, 2022 (“TPS Ltr.”) is attached hereto as Exhibit 1c.
The Superintendent’s letter similarly notes that “the written language on the slides and
the words heard in the audio are identical.” (TPS Ltr. at 2).

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Ltr. at 4 (“there were no direct statements in the training that an individual should feel

discomfort or guilt because of their race”)). Nevertheless, OSDE deemed it “more likely

than not” that the training “incorporated and/or is based on such a concept” because of

unspecified characteristics of the “design and basis of the training,” or as the OSDE’s

General Counsel even more cryptically told the Board, its “spirit.” (Id.; Video Recording

of June 23, 2022 Board Meeting at 4:49:47, available at https://fb.watch/eM-JPGU0S3/).

When questioned at the July 28 meeting, OSDE’s General Counsel agreed that the

violation was premised on his “interpretations and feelings” rather than “something

explicitly being stated.” (Video Recording of July 28, 2022 Board Meeting at 2:03:26,

available at https://fb.watch/eGuV91aK0B/). These vague standards evince and invite the

very type of arbitrary and discriminatory enforcement that due process prohibits. As

Board Chair Joy Hofmeister herself accurately noted at the July 28 meeting, the Act “is a

law that has a lot of vagueness.” (Id. at 2:25:56.)

       Similarly, as OSDE acknowledged, there was no “explicit content” in the training

materials saying that “an individual, because of their race, is responsible for actions in the

past.” (OSDE Ltr. at 3-4). Yet, as the enforcement action demonstrates, someone can be

punished for violating subsection (f) for purportedly suggesting or implying that

educators should at least be aware of “historical biases against minorities” or presenting

the idea that stereotypes “built over time and by history and culture” “can still be found in

the classroom.” (Id.) The scope of subsection (f) thus is not limited, as the State wrongly

argued, to “ideas that are [specifically] mentioned or banned” in the Act. (See ECF No.

61 at 19). And the line delineating when a discussion about historical racism will be

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deemed to imply that white people “bear responsibility” for such past actions, and when

it will not, is impossible to discern.

       In short, the only thing that is clear or straightforward about the Act, as the

Board’s and OSDE’s actions confirm, is the message it sends to school districts and

teachers: Steer clear of any discussion of race or bias that could possibly be interpreted as

causing offense, or risk losing your accreditation status or your teaching license. That is

the command of the Act itself as understood by those principally responsible for

enforcing it. Plainly the Board and OSDE are applying the law in the manner they believe

the Legislature intended and not according to the narrow construction the Attorney

General has tried to place on it, unconvincingly, for purposes of prevailing in this

litigation.

       The action against the Tulsa Schools district also confirms the Act is overbroad

and restricts access to information in violation of basic First Amendment principles. For

example, as described in the OSDE Letter, the Tulsa training materials offend the Act

because they discuss the ideas of examining implicit biases and the mere awareness of

one’s own potential biases. 9 This, OSDE determined, violates subsection (b)’s

proscription against teaching that individuals are inherently racist, “whether consciously

or unconsciously.” But the existence of implicit or unconscious bias (among people of all

races) has been amply documented by social scientists for decades and is widely accepted



9
 See also Exh. 1c TPS Ltr., p. 2 (noting that the message conveyed by the Tulsa training
materials was only that “educators (like all humans) will have preconceived assumptions,
beliefs, or associations informed in part by their experiences”).

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throughout American society, including in the courts. (ECF No. 50 at ¶¶ 8, 44, 49, 84 &

n.18, 88, 149 & n.78.) 10

       As another example, OSDE concluded the training violated the Act based, in part,

on statements that Black students disproportionately face suspension compared to their

peers. (See OSDE Ltr. 3-4.) However, such racial disparities are documented by state and

federal data. 11 The Board and OSDE’s enforcement action thus illustrates that sharing

information about racial disparities as part of a class discussion or debate may constitute

a violation of the Act, thereby denying students exposure to information that can develop

critical-thinking and analysis. (See ECF No. 27-8 at ¶ 21 (Mr. Crawford explaining that

exposing students to information related to race, sex, and inequality can develop

analytical, open-minded thinkers and citizens)).

       Accordingly, the Act, as Plaintiffs have argued and as this enforcement action

confirms, even suppresses information or discussion about the science of implicit and

unconscious bias—and other race-related topics and data—based purely on the political


10
  See, e.g., Greater Philadelphia Chamber of Commerce v. City of Philadelphia, 949
F.3d 116, 128-31, 153 & n.280 (3d Cir. 2020) (relying on studies of subliminal or
implicit bias in upholding city ordinance); Woods v. City of Greensboro, 855 F.3d 639,
641 & n.1 (4th Cir. 2017) (“many studies have shown that most people harbor implicit
biases”); United States v. Ray, 803 F.3d 244, 259-60 & n.8 (6th Cir. 2015) (“we
recognize the proven impact of implicit biases on individuals’ behavior and decision-
making”); Martin v. F.E. Moran, Inc., 2017 WL 1105388 (N.D. Ill. Mar. 24, 2017);
Samaha v. Washington State Dep’t of Transp., 2012 WL 11091843 (E.D. Wash. Jan. 3,
2012).
11
   See, e.g., Civil Rights Data Collection Data Snapshot: School Discipline (Issue Brief
No. 1), U.S. Department of Education (March 2014), available at
https://tinyurl.com/yckzf3ux (documenting disparities including state-based data on
disparities).

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ideology of a majority of legislators and runs contrary to any legitimate pedagogical

purpose. (See generally ECF No. 27 at 19-22; ECF No. 66 at 12-20).

       Importantly, while this enforcement action involved a mandatory teacher training,

a teacher would reasonably interpret that the same standards apply to classroom conduct

since OSDE reached its conclusions under Section 1(B)(1) of the Act, which also applies

to teachers’ classroom conduct. (See OSDE Ltr. at 2-3). In fact, OSDE's own Executive

Director of Communications, in a statement issued this past weekend, acknowledged that

“this instance underscores how the vague language of H.B. 1775 invites imprecise

judgment calls, which in turn have a chilling effect on classroom instruction.” (Exh. 1b,

Tulsa World Article.)

       The Board’s and OSDE’s enforcement action directly implicates Plaintiffs, who

include the Oklahoma State Conference of the National Association for the Advancement

of Colored People (“NAACP”) and the American Indian Movement Indian Territory

(“AIM Indian Territory”). These organizations have members that are students, parents,

and educators within Tulsa Public Schools. (ECF No. 27-5 at ¶ 7; No. 27-6 at ¶ 9.) The

chilling effects of the Board’s and OSDE’s interpretation also harm NAACP’s and AIM

Indian Territory’s broader membership across Oklahoma. Such actions stifle

constitutionally protected speech far beyond Tulsa Public Schools by sending a clear

directive to educators and districts throughout Oklahoma that H.B. 1775 will be broadly

interpreted to fulfill partisan interests and the Board will inflict severe consequences on

those who merely mention certain ideas irrespective of whether such ideas further

legitimate educational interests. Indeed, as one Board member forthrightly stated in

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support of escalating Tulsa’s penalty: “we need to send a message” to other districts in

Oklahoma. (Video Recording of July 28, 2022 Board Meeting at 2:14:34, available at

https://fb.watch/eGuV91aK0B/).

       Plaintiffs appreciate the Court’s attention and consideration of the above and

respectfully urge the Court to grant their motion for a preliminary injunction.


 Dated: August 8, 2022                                Respectfully submitted,

                                                      /s/ Megan Lambert
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